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                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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      ORLANDO MOLINA,                      Case No. CV 21-4004-DMG (JPRx)
12
                        Plaintiff,
13
                                           ORDER APPROVING
14    v.                                   STIPULATION OF DISMISSAL
                                           WITH PREJUDICE AS TO
15
   ARROWHEAD CREDIT UNION;                 DEFENDANT ARROWHEAD
16 EXPERIAN INFORMATION                    CREDIT UNION [29]
17
   SOLUTIONS, INC.; and EQUIFAX
   INFORMATION SERVICES, LLC,
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19                      Defendants.

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     Case 2:21-cv-04004-DMG-JPR Document 31 Filed 09/28/21 Page 2 of 2 Page ID #:121




 1          Upon review of the Stipulation of Dismissal with Prejudice of Arrowhead
 2    Credit Union (“Arrowhead”), filed by Plaintiff and Defendant Arrowhead, and
 3    good case appearing.
 4          IT IS ORDERED that the Stipulation is APPROVED. The above-entitled
 5    action is hereby dismissed with prejudice as to Arrowhead, with the stipulating
 6    parties to bear their own costs and attorney’s fees. The Clerk shall terminate the
 7    action in its entirety as there are no remaining defendants.
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 9    DATED: September 28, 2021
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                                             DOLLY M. GEE
11                                           UNITED STATES DISTRICT JUDGE
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